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               UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION



THE STATE OF GEORGIA,                    Case Nos. 1:23-cv-3621
                                                   1:23-cv-3721
          Plaintiff,

    v.

MARK R. MEADOWS,

          Defendant,

    and

JEFFREY B. CLARK,

          Defendant.


  PROPOSED BRIEF FOR FORMER JUDGES, PROSECUTORS, AND
STATE AND FEDERAL EXECUTIVE OFFICIALS AS AMICI CURIAE IN
                  SUPPORT OF REMAND
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                               INTEREST OF AMICI

      Amici are former judges, prosecutors, and state and federal executive

officials with experience in both state and federal court, including experience with

the federal-officer removal statute, 28 U.S.C. §1442, as well as with respect to

drawing the line between the official and political activities of the president and

other senior executive officeholders. As such, amici have an interest in the proper

division of responsibility between state and federal courts as well as in the just

enforcement of criminal laws.1

                                  INTRODUCTION

      The Constitution of the United States confers upon the 50 States a

compelling interest in prosecuting—in their own courts—criminal interference

with their administration of federal elections. See U.S. Const. art. I, §4; id. art. II,

§1. Consistent with the States’ constitutional authority over the integrity of the

federal elections they administer, the federal-officer removal statute, 28 U.S.C.

§1442, does not permit removal here.

      In conceiving our federal system, the Framers insisted that “the fitness and

competency of [state] courts should be allowed in the utmost latitude.” The

Federalist No. 81 (Hamilton) at 485 (Clinton Rossiter ed., 2003). And “[p]erhaps


      1
        No counsel for a party authored this brief in whole or in part, and no entity
or person other than amici and their counsel made a monetary contribution
intended to fund the preparation or submission of this brief.

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the clearest example of traditional state authority is the punishment of local

criminal activity.” Bond v. United States, 572 U.S. 844, 858 (2014). To preserve

that longstanding tradition, the Supreme Court has recognized a “strong judicial

policy against federal interference with state criminal proceedings.” Arizona v.

Manypenny, 451 U.S. 232, 243 (1981). In keeping with that “strong judicial

policy,” removal of a state criminal prosecution to federal court is permitted by the

federal-officer removal statute only where a federal officer both (1) faces criminal

charges for conduct arising under color of his office and (2) identifies a colorable

federal defense. See Jefferson County v. Acker, 527 U.S. 423, 431 (1999).

Because neither of those elements is satisfied here, the Court should remand these

cases to the Fulton County Superior Court.

      The conduct charged here by the Fulton County District Attorney—

interference by Mark Meadows and Jeffrey Clark with the 2020 presidential

election in Georgia in order to aid Donald Trump’s candidacy—bore no connection

to any duty of Mr. Meadows’s, Mr. Clark’s, or Mr. Trump’s office. Neither the

president nor anyone else in the executive branch has any duty to superintend or

participate in a State’s selection of its presidential electors. And there is no

plausible basis for Mr. Meadows or Mr. Clark to claim Supremacy Clause

immunity, protection under the First or Fourteenth Amendment, or any other

federal defense to the charges. Finally, the purpose of the federal-officer removal



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statute—to protect federal operations by preventing retribution in state court for

locally unpopular exercises of federal authority—would not be served by removal

here. To the contrary, removal would be perverse, as this prosecution arises from

interference with state-government operations and seeks to vindicate Georgia’s

voice in a federal election, the very contest from which federal authority flows.2

                                     ARGUMENT

I.    MR. MEADOWS AND MR. CLARK WERE INDICTED FOR ELECTIONEERING
      CONDUCT UNRELATED TO ANY DUTY OF THEIR OFFICES

      The federal-officer removal statute provides that an officer may remove a

state prosecution only if it is “for or relating to any act under color of [his] office.”

28 U.S.C. §1442(a)(1). That requirement is not remotely met here. Mr. Meadows

and Mr. Clark are charged for their efforts to pressure election officials in Georgia

to award the State’s electoral votes to Mr. Trump in the 2020 presidential election,

as well as for supporting similar pressure applied by Mr. Trump himself. None of

that conduct was grounded in any official duty of either Mr. Meadow’s position

(White House chief of staff), or either of Mr. Clark’s positions (Assistant Attorney

General for the Justice Department’s Environment and Natural Resources Division

and Acting Assistant Attorney General for the Justice Department’s Civil

      2
         Although the State has not yet moved for remand in The State of Georgia
v. Jeffrey B. Clark, No. 1:23-cv-3721, amici agree with the State that Mr. Clark’s
notice of removal is, like Mr. Meadows’s, “deficient,” State Response to Clark
Emergency Motion at 3. Amici therefore submit this brief in support of remand in
both cases.

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Division). Indeed, neither the Constitution nor any other source of federal law

affords these officeholders any role in the selection of a State’s presidential

electors. To the contrary, the executive branch is deliberately (and understandably)

walled off from that selection process. There is thus no basis for removal.

      A.     “The defendant has the burden of proving by a preponderance of the

evidence that the requirements for removal jurisdiction have been met.” County of

San Mateo v. Chevron Corporation, 32 F.4th 733, 746 (9th Cir. 2022), cert.

denied, 143 S.Ct. 1797 (2023). Historically, defendants invoking the federal-

officer removal statute have had to show “a causal connection between the charged

conduct and asserted official authority.” Acker, 527 U.S. at 431. In other words,

the prosecution had to be “based on or arise[] out of” conduct the officer

performed “under authority of federal law in the discharge of his duty and only by

reason thereof.” Maryland v. Soper, 270 U.S. 9, 33 (1926).

      In 2011, Congress amended the federal-officer removal statute by inserting

the words “or relating to” in the phrase “for or relating to any act under color of

such office.” Removal Clarification Act of 2011, Pub. L. 112-51, §2, 125 Stat.

545, 545 (2011). While courts have disagreed on the precise effect of that

amendment, every court that has applied the amended statute has agreed that it

permits removal only where a case is at least “connected or associated[] with acts

under color of federal office,” Latiolais v. Huntington Ingalls, Inc., 951 F.3d 286,



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292 (5th Cir. 2020) (en banc). That includes the Eleventh Circuit, which interprets

the phrase “relating to” as requiring at least “a ‘connection’ or ‘association’

between” the charged conduct and some official duty. Caver v. Central Alabama

Electric Cooperative, 845 F.3d 1135, 1144 (11th Cir. 2017). Courts also agree that

the connection between the charged conduct and an official duty may be “too

remote,” Minnesota by Ellison v. American Petroleum Institute, 63 F.4th 703, 715

(8th Cir. 2023), or “too tenuous to support removal,” Mayor & City Council of

Baltimore v. BP P.L.C., 31 F.4th 178, 234 (4th Cir. 2022), cert. denied, 143 S.Ct.

1795 (2023). And in a criminal case, as here, a defendant seeking removal must

make a “more detailed showing” of the required connection, owing to the “more

compelling state interest in conducting criminal trials in the state courts.”

Willingham v. Morgan, 395 U.S. 402, 409 n.4 (1969).3

      B.       Neither Mr. Meadows nor Mr. Clark can identify any official duty

bearing any connection to the conduct for which he is charged. Both are charged

with efforts to manipulate Georgia officials who had roles in administering the

presidential election in their State: Mr. Meadows for attempting to manipulate the

      3
        Mr. Clark is wrong to assert (Removal Notice at 9) that his notice of
removal “removes not just the Fulton County Action itself but also the Special
Purpose Grand Jury proceedings that preceded” the indictment. The only action
pending against Mr. Clark is a criminal indictment. As he concedes (id. at 21), the
Special Purpose Grand Jury (which never charged him with anything) “was
dissolved … on January 9, 2023.” There is thus no other proceeding over which
this Court could assume jurisdiction.

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Georgia Secretary of State, see Indictment at 50 (count 1, act 112), 87 (count 28),

and the Secretary’s Chief Investigator, see id. at 44 (count 1, act 93), 45 (count 1,

act 96), and Mr. Clark for attempting to manipulate the governor, the Speaker of

the Georgia House of Representatives, and the President Pro Tempore of the

Georgia Senate, see id. at 45 (count 1, act 98), 46 (count 1, act 99), 50 (count 1, act

110), 83 (count 22). Mr. Meadows is also charged with attempting to infiltrate a

signature-match audit taking place in Cobb County, Georgia. See id. at 44 (count

1, act 92). And while Mr. Clark’s position qualified him as a federal officer for

purposes of the removal statute at the time of his alleged conduct (this brief takes

no position on the unsettled question whether the president or White House chief

of staff qualifies as a federal officer under the statute), “[n]ot every act of or on

behalf of a federal officer is an act under color of office,” New York v. Trump,

2023 U.S. Dist. LEXIS 124733, *20 (S.D.N.Y. July 19, 2023); see also Clinton v.

Jones, 520 U.S. 681, 695 (1997). The acts charged here certainly were not under

color of either man’s office.

      1.     Neither the president, his chief of staff, nor the Department of Justice

has any duty (or authority, for that matter) to superintend state election officials’

administration of a federal election in the manner alleged. As the Supreme Court

has explained, the Constitution “empowers the States” and “Congress” “to regulate

the conduct of [federal] elections.” Roudebush v. Hartke, 405 U.S. 15, 24 (1972)



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(emphases added); see also U.S. Const. art. I, §4 (Elections Clause); id. art. II, §1

(Electors Clause). Likewise, while the Electoral Count Act assigns duties to

various congressional officials—“the presiding officer [i.e., the vice president

acting as president of the Senate], the Speaker [of the House], the Senators, the

Representatives, the tellers [who count electoral votes], and others”—it prescribes

no role for the president, the White House chief of staff, or the U.S. Department of

Justice. United States v. Sandlin, 575 F.Supp.3d 16, 23 (D.D.C. 2021); see also 3

U.S.C. §§15-18. To the extent the Department of Justice has any responsibilities

touching on federal elections, they do not include superintendence of the States’

administration of federal elections, and in any event are not within the offices Mr.

Clark held.

       Nor did the Constitution’s Take Care Clause vest Mr. Trump, Mr. Meadows,

or Mr. Clark with any relevant duty. That is because the clause “does not extend to

government officials over whom [the president] ha[d] no power or control,”

Thompson v. Trump, 590 F.Supp.3d 46, 78 (D.D.C. 2022) (emphasis omitted). The

clause thus did not confer on Mr. Trump, Mr. Meadows, or Mr. Clark any duty to

manage or direct the congressional officials with roles prescribed by the Electoral

Count Act—those officials were members “of a co-equal branch[] not subject to

Executive Branch control,” id.—much less to manage or direct state election

officials.



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      This is not by accident. It is instead by design that “our country has a highly

decentralized system of election administration, in which states and localities are

primarily responsible for regulating and managing elections.” Vote Forward v.

DeJoy, 490 F.Supp.3d 110, 123 (D.D.C. 2020). Indeed, the Framers ensured “that

the election of the President” would be “well guarded … from any sinister bias,”

not only by fostering a “detached and divided” process “in each State,” but also by

“exclud[ing] from eligibility” to serve as presidential electors “all those who from

situation might be suspected of too great devotion to the President in office.” The

Federalist No. 68 (Hamilton) at 410-411; see also U.S. Const. art. II, §1, cl. 2.

Surely, then, the Framers did not contemplate supervision of a presidential election

by a sitting president himself (or senior members of the executive branch).

      As another court recently concluded, therefore, Mr. Trump’s interference

with state election officials cannot “possibly constitute executive action in defense

of the Constitution.” Michigan Welfare Rights Organization v. Trump, 2022 U.S.

Dist. LEXIS 215474, *13 (D.D.C. Nov. 28, 2022). The same goes for Mr.

Meadows’s and Mr. Clark’s interference, as well as their support of Mr. Trump’s.

And it makes no difference whether Mr. Trump, Mr. Meadows, or Mr. Clark

believed they were addressing suspected voter fraud or election irregularities in

Georgia (suspicions, it bears noting, that have never been substantiated). As in the

case just cited, Mr. Trump (and Mr. Meadows and Mr. Clark) cannot “offer any



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reason to believe [their] efforts to expose ‘election fraud’ were part of any

executive effort.” Id.

      2.       Even if the law were otherwise, such that the president (and thus

perhaps his chief of staff) or the Justice Department (particularly the divisions Mr.

Clark headed) had a role in ensuring that state election officials fairly administer

the presidential election in their State, that is not what Mr. Meadows or Mr. Clark

is alleged to have done. The required connection between the alleged conduct and

any official duty would therefore still be missing, or at least “too remote” to

support removal, Ellison, 63 F.4th at 715. Mr. Meadows and Mr. Clark are

charged for their efforts to “change the outcome of the election in favor of Trump,”

Indictment at 14; for efforts, that is, in service of Mr. Trump’s candidacy. Such

conduct constitutes electioneering; it is not “connected or associated” with any

official duty, Latiolais, 951 F.3d at 292 (emphasis omitted).4


      4
        Count 28 alleges that on January 2, 2021, Mr. Meadows and Mr. Trump
“unlawfully solicited, requested, and importuned Georgia Secretary of State Brad
Raffensperger” to “unlawfully influenc[e] the certified returns for presidential
electors.” This communication’s purpose was unquestionably to aid Mr. Trump’s
candidacy. Mr. Trump told Secretary Raffensperger that he needed to “find 11,780
votes”—in Mr. Trump’s words, exactly “one more than” he needed, as a
candidate, to win in Georgia. Transcript: President Trump’s Phone Call With
Georgia Election Officials, N.Y. Times (Jan. 3, 2021), https://www.nytimes.com/
2021/01/03/us/politics/trump-raffensperger-georgia-call-transcript.html. The
precise tailoring of this demand leaves no doubt that it was made in service of Mr.
Trump’s candidacy, not any official duty. What’s more, the way Mr. Trump
prefaced the demand—“All I want to do is this. I just want to find 11,780 votes,”
id. (emphasis added)—makes clear that the communication was made exclusively

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      All three branches of the federal government agree that electioneering is not

an official function: Congress distinguished in the Hatch Act between

electioneering activities and official conduct, applying restrictions on federal

employees’ activities in the former category but not the latter. See Office of

Special Counsel, Federal Hatch Act Advisory: Candidate Visits to Federal

Agencies 1-2 (Feb. 15, 2018). The executive branch’s Office of Legal Counsel

does not consider expenses for campaign travel to be official expenses. Payment

of Expenses Associated with Travel by the President and Vice President, 6 Op.

O.L.C. 214, 216-217 (1982). And federal courts routinely distinguish between

official and campaign conduct. The Eleventh Circuit, for example, has held that

the management of a sheriff’s campaign webpage was not state action because

“‘acts of officers in the ambit of their personal pursuits are not done under color of

law.’” Charudattan v. Darnell, 834 F.App’x 477, 482 (11th Cir. 2020) (quoting

Myers v. Bowman, 713 F.3d 1319, 1329 (11th Cir. 2013)). As another court held

in a similar context, “[t]he opposite conclusion would impermissibly stretch the

definition of ‘under color of law.’” Salkin v. Labrosse, 2019 U.S. Dist. LEXIS

215160, *10 (D.N.J. Dec. 13, 2019).



to aid Mr. Trump’s candidacy. The same is manifestly true of the conduct of Mr.
Clark charged in count 22: Composing a baldly false representation and
importuning his superiors to send it in order to threaten Georgia officials is nothing
other than election interference for a purely political and personal objective.


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                                    *      *      *

      Put simply, this prosecution is not “for or relating to any act under color of

[Meadows’s or Clark’s] office,” 28 U.S.C. §1442(a)(1), because neither the office

of president (and a fortiori the office of White House chief of staff) nor the Justice

Department (and particularly the offices Mr. Clark held) has any duty or even

authority to participate in the administration of a State’s presidential election as

alleged here. And even if those offices had such a duty, the charged conduct still

would not relate to that duty, because “[t]he Office of the President has no

preference for who occupies it,” Thompson, 590 F.Supp.3d at 82, and the alleged

interference with the presidential election in Georgia clearly evinced such a

preference. At the very least, any connection to an official duty is “too tenuous to

support removal,” Mayor & City Council of Baltimore, 31 F.4th at 234. Neither

Mr. Meadows nor Mr. Clark can make the requisite “detailed showing” otherwise,

Willingham, 395 U.S. at 409 n.4. Remand is therefore required.

II.   MR. MEADOWS AND MR. CLARK HAVE NO COLORABLE FEDERAL
      DEFENSE

      Independently, to remove a case against him, a federal officer must “raise a

colorable defense arising out of [his] duty to enforce federal law.” Willingham,

395 U.S. at 406-407. The Supreme Court imposed this separate requirement

because the Court (in its words) “retains the highest regard for a State’s right to

make and enforce its own criminal laws.” Manypenny, 451 U.S. at 243. To


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respect that right, the Court held, federal-officer removal of a “prosecution under

state law” must be “limited to assuring that an impartial setting is provided in

which the federal defense of immunity can be considered.” Id. at 242. Mr.

Meadows and Mr. Clark fare no better on this requirement than on the requirement

discussed in Part I, for essentially the same reasons discussed there.

      A.     Mr. Meadows’s and Mr. Clark’s principal purported federal defense is

that their conduct is shielded by Supremacy Clause immunity. See Meadows

Notice of Removal at 8-12; Meadows Motion to Dismiss at 11-22; Clark Notice of

Removal 26, 28. But no such immunity exists where “it [cannot] reasonably be

claimed that” the officer’s conduct was “in the performance of a duty imposed by

… Federal law.” United States ex rel. Drury v. Lewis, 200 U.S. 1, 8 (1906)

(emphasis added). None of the conduct for which Mr. Meadows or Mr. Clark is

charged arose from or is related to any duty imposed on him by federal law. As

explained in Part I, no federal statute or constitutional provision empowers (let

alone requires) the president, his chief of staff, or the Justice Department divisions

Mr. Clark headed to interfere in a State’s presidential election.

      The reasoning of Thompson v. Trump, 590 F.Supp.3d 46 (D.D.C. 2022), is

instructive. The court there held that Mr. Trump had no official duty to urge the

vice president or members of Congress to violate their own federal-law duty to

certify electoral votes on January 6, 2021—and thus he was not immune from



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liability for such exhortation—because, as noted, the president’s duties under

federal law (including the Constitution’s Take Care Clause) do “not extend to

government officials over whom he has no power or control.” Id. at 78. Just as

Mr. Trump had no power over the vice president or members of Congress

performing their prescribed roles in the certification process, so too he (and Mr.

Meadows and Mr. Clark) had no power over Georgia officials administering the

presidential election in that State. And just as the Thompson court explained that

the Electoral Count Act “prescribes no role for a sitting President” in the tabulation

of votes in the electoral college, id. at 77, no statute or constitutional provision

permits any role for the relevant federal offices in the administration of a particular

State’s determination of those votes.

      The Eleventh Circuit has held, moreover, that Supremacy Clause immunity

does not extend to an officer who “acted because of any personal interest” rather

than “to do his duty” under federal law. Baucom v. Martin, 677 F.2d 1346, 1350

(11th Cir. 1982). That is the situation here. Again, Mr. Meadows and Mr. Clark

are charged for their efforts to “change the outcome of the election in favor of

Trump,” Indictment at 14; in other words, for their efforts to aid Mr. Trump’s

candidacy. Because the charged conduct constitutes electioneering, it is, as

explained in Part I, personal and not official.




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      B.     In his motion to dismiss, Mr. Meadows invokes the First and

Fourteenth Amendments as “contingent defenses,” should this Court reject his

claim to Supremacy Clause immunity. Meadows Motion to Dismiss at 23 n.9; see

id. at 23-25. To begin with, however, even if there were any merit to those

defenses (and as explained below, there isn’t), it is unlikely either could satisfy the

colorable-federal-defense requirement for officer removal. As noted, the Supreme

Court has both required officers to “raise a colorable defense arising out of their

duty to enforce federal law,” Willingham, 395 U.S. at 406-407 (emphasis added),

and held that federal-officer removal must be “limited to assuring that an impartial

setting is provided in which the federal defense of immunity can be considered,”

Manypenny, 451 U.S. at 242 (emphasis added). Mr. Meadows has not shown that

either of his “contingent defenses” satisfies these requirements.

      In any event, Mr. Meadows has no plausible claim to a defense under the

First or Fourteenth Amendment.

      Mr. Meadows’s First Amendment defense ignores the “historic and

traditional” exception to the protection of free expression for “speech integral to

criminal conduct,” United States v. Stevens, 559 U.S. 460, 468 (2010) (citing

Giboney v. Empire Storage & Ice Co., 336 U.S. 490 (1949)). That disregard is

particularly striking given that “[s]peech integral to criminal conduct is now a

standard item on lists of First Amendment exceptions.” Volokh, The “Speech



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Integral to Criminal Conduct” Exception, 101 Cornell L. Rev. 981, 983 (2016)

(quotation marks omitted). Mr. Meadows contends specifically that his and Mr.

Trump’s January 2, 2021, “discussion with the Georgia Secretary of State” (which

is the subject of count 28, see note 4, supra) receives First Amendment protection

because it was “about public issues of political importance.” Meadows Motion to

Dismiss at 24. But the indictment alleges (at 87) that that “discussion” was part of

Mr. Meadows’s charged crime of soliciting the Georgia Secretary of State “to

engage in conduct constituting the felony offense of Violation of Oath by Public

Officer, O.C.G.A. § 16-10-1.” And the Supreme Court has specifically held that

“solicitation,” i.e., speech “intended to induce or commence illegal activities,” is

“undeserving of First Amendment protection.” United States v. Williams, 553 U.S.

285, 298 (2008). That precedent squarely forecloses Mr. Meadows’s First

Amendment defense.

      Equally groundless is Mr. Meadows’s claim (Motion to Dismiss at 25) that

his prosecution violates due process because the statutes under which he is charged

“are unconstitutionally vague as applied to the charges against” him. Mr.

Meadows offers no actual argument, let alone a colorable one, as to why that is so.

See id. at 24-25. And it obviously is not. Take, for instance, the conduct on which

Mr. Meadows’s motion focuses: his and Mr. Trump’s “discussion with the Georgia

Secretary of State.” Id. at 24. As noted, that “discussion” was in fact an



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exhortation that Secretary Raffensperger—the officer sworn to faithfully certify

Georgia’s election results—“find 11,780 votes” to swing the election for Mr.

Trump, Transcript: President Trump’s Phone Call With Georgia Election

Officials, supra note 4. It is hard to imagine a clearer example of soliciting a

public officer to violate his oath. Mr. Meadows’s suggestion that he lacked fair

notice that such an exhortation could constitute criminal solicitation is simply

absurd.

       C.    Mr. Clark’s unsupported invocation of the First Amendment fails for

the same reasons. And while he lists other defenses, see Clark Notice of Removal

at 26, 28, he fails to discuss them (despite his “burden of proving … that the

requirements for removal jurisdiction have been met,” County of San Mateo, 32

F.4th at 746), and in any event they are patently inapplicable.

III.   REMOVAL HERE WOULD NOT SERVE THE PURPOSE OF THE FEDERAL-
       OFFICER REMOVAL STATUTE

       The federal-officer removal statute reflects Congress’s concern that because

federal officers may be required by law to take official actions that are unpopular

with local populations, they could face unjustified state charges, which could in

turn impede federal operations. That concern is not remotely implicated here.

       The removal statute’s history makes that plain. Congress enacted the first

two versions to prevent state laws from defeating the enforcement of federal trade

policy. The first version “was part of an attempt to enforce an embargo on trade


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with England over the opposition of the New England States, where the War of

1812 was quite unpopular.” Willingham, 395 U.S. at 405. The second “was

passed in consequence of an attempt by one of the States of the Union to make

penal the collection by United States officers within the State of duties under the

tariff laws.” Tennessee v. Davis, 100 U.S. 257, 268 (1879). As the Supreme Court

later explained (quoting Senator Daniel Webster’s views from the time of the

second version’s enactment), “where state courts might prove hostile to federal

law, and hence to those who enforced that law, the removal statute would ‘give a

chance to the [federal] officer to defend himself where the authority of the law was

recognised.’” Watson v. Philip Morris Companies, 551 U.S. 142, 148 (2007)

(quoting 9 Cong. Deb. 461 (1833)). That remains a core purpose of the removal

statute.

       During the Civil War, Congress revised the statute both to permit removal of

actions brought against officers during the war and to improve the capacity of the

federal government to collect revenue. See Act of March 3, 1863, 12 Stat. 757.

Shortly thereafter, the Supreme Court explained that without the removal statute,

“the operations of the [federal] government [could] at any time be arrested at the

will of one of its [member States].” Davis, 100 U.S. at 258. In the latter half of

the nineteenth century too, then, Congress and the Court understood the statute as a

means to prevent local populations from impeding federal operations.



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      More recently, the Supreme Court has reaffirmed that the removal statute’s

“purpose is to protect the Federal Government from the interference with its

operations that would ensue” were a State able to arrest and try a federal officer for

“acting … within the scope of [his] authority.” Watson, 551 U.S. at 150 (quotation

marks omitted). Such “interference” would flow from the fact that “[s]tate-court

proceedings may reflect local prejudice against unpopular federal laws or federal

officials.” Id. (quotation marks omitted).

      To say the least, the statute’s purpose to prevent interference with federal

operations would not be served by removing the charges against Mr. Meadows or

Mr. Clark from Georgia state court. These prosecutions do not threaten to impede

any federal policy or prevent the federal government from carrying out its

operations. The charges are not unjustified retribution for a legitimate exercise of

federal authority. It is Georgia, not the federal executive, that is responsible for

administering the State’s selection of its presidential electors—including assuring

the integrity of that selection. Allowing it to do so, including by leaving it to the

State’s own courts to adjudicate any alleged violations of the State’s criminal laws,

is in no way contrary to, and in fact is fully consistent with, the purpose of the

federal-officer removal statute.




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                                    *     *      *

      The Constitution entrusts the administration of federal elections to the

States. It deliberately insulates such administration from the President and his

staff. Consistent with that constitutional design, the federal-officer removal statute

does not permit removal here.

                                  CONCLUSION

      The Court should remand these cases to state court.



August 23, 2023                            Respectfully submitted,

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                   APPENDIX
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                             List of Amici Curiae

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                     CERTIFICATE OF COMPLIANCE

      The foregoing has been prepared in accordance with the requirements of

Local Rule 5.1.

                                               /s/ John Thomas Morgan III
                                               JOHN THOMAS MORGAN III




                        CERTIFICATE OF SERVICE

      On this 23rd day of August, 2023, I electronically filed the foregoing using

the Court’s CM/ECF system. Counsel for all parties to the case are registered

CM/ECF users and will be served by that system.

                                               /s/ John Thomas Morgan III
                                               JOHN THOMAS MORGAN III
